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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE

UNITED STATES OF AMERICA                                                                PLAINTIFF


v.                                                    CRIMINAL ACTION NO. 3:23-CR-55-DJH


JOHN ANTHONY SCHMIDT                                                                  DEFENDANT

                               MOTION FOR LEAVE TO SEAL

         Comes the United States of America, by counsel, Stephanie M. Zimdahl, Assistant United

States Attorney, and hereby moves the Court pursuant to Local Rule 49.4 for leave to file sealed

documents. United States requests that the corporate disclosure statements be filed under seal in

this matter. In support of its Motion, the United States states that the Corporate Disclosures include

the identity of victims in a criminal matter and thus should be excluded from the public record.


                                                              MICHAEL A. BENNETT
                                                              United States Attorney

                                                              s/ Stephanie M. Zimdahl
                                                              Stephanie M. Zimdahl
                                                              Assistant United States Attorney
                                                              717 West Broadway
                                                              Louisville, Kentucky 40202
                                                              (502) 582-5911

                                CERTIFICATE OF SERVICE

        I hereby certify that on May 9, 2023, I electronically filed the foregoing with the clerk of
the court by using the CM/ECF system, which will send a notice of electronic filing to counsel of
record.

                                                              s/ Stephanie M. Zimdahl
                                                              Stephanie M. Zimdahl
                                                              Assistant United States Attorney
